Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 1 of 38 PageID #: 117




          EXHIBIT D
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 2 of 38 PageID #: 118
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 3 of 38 PageID #: 119
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 4 of 38 PageID #: 120
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 5 of 38 PageID #: 121
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 6 of 38 PageID #: 122
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 7 of 38 PageID #: 123
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 8 of 38 PageID #: 124
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 9 of 38 PageID #: 125
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 10 of 38 PageID #: 126
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 11 of 38 PageID #: 127
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 12 of 38 PageID #: 128
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 13 of 38 PageID #: 129
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 14 of 38 PageID #: 130
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 15 of 38 PageID #: 131
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 16 of 38 PageID #: 132
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 17 of 38 PageID #: 133
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 18 of 38 PageID #: 134
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 19 of 38 PageID #: 135
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 20 of 38 PageID #: 136
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 21 of 38 PageID #: 137
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 22 of 38 PageID #: 138
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 23 of 38 PageID #: 139
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 24 of 38 PageID #: 140
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 25 of 38 PageID #: 141
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 26 of 38 PageID #: 142
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 27 of 38 PageID #: 143
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 28 of 38 PageID #: 144
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 29 of 38 PageID #: 145
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 30 of 38 PageID #: 146
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 31 of 38 PageID #: 147
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 32 of 38 PageID #: 148
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 33 of 38 PageID #: 149
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 34 of 38 PageID #: 150
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 35 of 38 PageID #: 151
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 36 of 38 PageID #: 152
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 37 of 38 PageID #: 153
Case 1:22-cv-01353-UNA Document 1-4 Filed 10/13/22 Page 38 of 38 PageID #: 154
